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                                                                                                                      MAY 02 2017
                                    IN THE UNITED STATES DISTRICT COURT
                                                                                                                        AT BALTIMORE
                                        FOR THE DISTRICT OF MARYLAND                                             CLERK. U.S. DISTRICT COURT
                                                                                                            BY     DIST7~LAND

United States of America                                         *
                                                                                                                      !dY~               DEPUTY



                   v.                                            *                   Criminal Case No. JKB-16-0259

Elmin Ivan Portillo-Guiterrez                                    *
                                                              ******
                                             REGULAR SENTENCING                   ORDER

             (I)        On or before          June 9, 2017      (lIotlllore   tholl 40 days/rolllthe   dote a/this order),   the

Probation Officer shall serve two copies of the presentence report upon counsel for the

Defendant, who shall review the report with and, provide one of the copies to, the Defendant.

The Probation Officer shall also serve one copy of the presentence report upon counsel for the

Government.

             (2)        On or before          June 23, 2017     (llotiess thall 14 days/rolll date ill paragraph I),


counsel shall submit, in writing, to the Probation Ofticer and opposing counsel, any objections to

any material information, sentencing classifications, advisory sentencing guideline ranges, or

policy statements contained in or omitted from the report.

             (3)        Alier receiving counsel's objections, the Probation Ofticer shall conduct any

necessary further investigation and may require counsel for both parties to meet with the

Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall

make any revisions to the presentence report deemed proper, and, in the event that any objections

made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting

forth those objections and any comment thereon.

             (4)        On or before          July 5, 2017      (llotiess thall II days/mill     date ill paragraph 2),   the

Probation Officer shall serve two copies of any revisions and addendum to the presentence report

upon counsel for the Defendant, who shall provide one of the copies to the Defendant. The


Scnlcncing   Guidelines Order.   Regular (Rev. 0612010)
 Probation Officer shall also serve one copy of any revision and addendum to the presentence

report upon counsel for the Government.                           The Probation Officer shall then submit the report (and

any revisions and addendum thereto) to the Court.

               (5)        If counsel for either party intends to call any witnesses at the sentencing hearing,

counsel shall submit, in writing, to the Court and opposing counsel, on or before

    August 1I. 2017                         (llol/ess IlIall J4 tiay" before .""Ie1/eilg),            a statement containing (a) the

names of the witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the

anticipated length of the hearing.

               (6)        Sentencing memoranda are not required unless a party intends to request a

sentence outside the advisory guidelines range on the basis of a non-guideline factor. If

submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before

    AUf!Ust11,2017                             (llol/en    IlIlllI /4 tillY'>before selllelleillg).     Opposing or responding

memoranda are not required. If submitted, they shall be delivered to chambers on or before

    August 18, 2017                           (llol/e"" l/ulI/ 7 tillY.' before selllelleillg).       Copies of all memoranda must

be sent to the Probation Officer.

               (7)       Sentencing shall be on                August 25. 2017              at ~1~O.~'O~O~a=.m~.             .

               (8)       The presentence report, any revisions, and any proposed findings made by the

Probation Officer in the addendum to the report shall constitute the tentative findings of the

Court under section 6A 1.3 of the sentencing guidelines. In resolving disputed issues of fact, the

Court may consider any reliable information presented by the Probation Officer, the Defendant,

or the Government, and the Court may issue its own tentative or final findings at any time before

or during the sentencing hearing.

               (9)       Nothing in this Order requires the disclosure of any portions of the presentence

report that are not discloseable under Federal Rules of Criminal Procedure 32.


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           (10)      The dates of service set forth in this Order refer to the date of receipt of the paper

being served. If the Probation Officer or counsel are making service of a paper by mail, they

must mail the paper at least three days before the date set forth in the Order.




Mar 2. 2017                                                 /~
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Date                                                            James K. Bredar
                                                                United States District Judge




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